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June 30, 2016

Clerk of the Court

United States Bankruptcy Court
District of Delaware

824 North Market Street

3rd Floor

Wilmington, Delaware 19801

 

 

Re: Seventy Seven Finance, Inc.
Case # 16-11409 (LSS)

Dear United States Bankruptcy Court,

As a senior secured Creditor and legal Claim Holder, I strongly object to any
settlement, prepackaged plan, or assignment as received on June 28, 2016, that will
not make Creditors fully whole of principal and interest due to date. The Court
should not allow the deceptive senior executives of Seventy Seven Finance Inc and
their predecessor, Chesapeake Oilfield Operating, LLC, to disrespect and
financially walk away from legal debt to Creditors such as myself, while these same
deceitful senior executives and Board of Directors have made horrid business
decisions, stripped the company of cash, value and retained earnings, and
concurrently collected excessive salaries, stock options and bonuses.

A full and exhaustive Discovery should be made by the Court of all financial
transactions both publically and personally of all said Corporation senior executives
over the five (5) years preceding the June 7, 2016 date of the documented Seventy
Seven Finance and Chesapeake Oilfield Operating executive’s fraudulent attempt to
hide in bankruptcy and run from legal debt.

Respectfully submitted,

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Vase

Peter Spuler, Jr.
10800 Blackpowder Court
Fort Washington, Maryland 20744
